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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA

     v.

     MICHAEL T. FLYNN,                          Criminal Action No. 17-232-EGS

     Defendant.




          THIRD SUPPLEMENT IN SUPPORT OF AGREED DISMISSAL

          On May 7, 2020, the Government moved to dismiss with prejudice the

prosecution of General Flynn. ECF No. 198. Until this case is dismissed with

prejudice, the Government has a continuing obligation to provide to the defense all

evidence that is exculpatory of General Flynn, establishes misconduct by the

Government in its many capacities that contributed to this wrongful prosecution, or

otherwise is favorable to the defense. Brady v. Maryland, 373 U.S. 83 (1963). The

defense has a continuing obligation to make a record that mandates this dismissal—

especially in view of this court’s unprecedented procedures and position.

           Late last night, the Government produced yet another tranche of

documents—its fifth production of exculpatory evidence since April of 2020, and its

third since filing its massive Motion to Dismiss. ECF Nos. 198, 231, 237. According

to   the     Government’s   production   correspondence: “The   documents   include




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handwritten notes of former Deputy Assistant Director Peter Strzok (23501 & 23503)

and former Deputy Director Andrew McCabe (23502); and internal text messages

between FBI analysts who worked on the Flynn matter (23504- 23516); . . . additional

text messages between former DAD Strzok and Lisa Page (23516-23540).” The 41

pages of additional evidence demonstrate (i) his innocence; (ii) the absence of any

crime; (iii) government misconduct in the investigation of General Flynn; and (iv)

continuing prosecutorial misconduct in the suppression of evidence favorable to the

defense in violation of Brady v. Maryland and this Court’s Brady order. ECF No. 20.

      These documents provide information long known to the agents and others at

the highest levels of the Department of Justice and the FBI; information long

concealed by the Special Counsel and FBI. This evidence shows outrageous,

deliberate misconduct by FBI and DOJ—playing games with the life of a national

hero. It negates multiple essential elements required for the prosecution of a false

statement offense and any “offense” even considered in relationship to Flynn Intel

Group’s review of open source information regarding Fethullah Gulen and the

Muslim Brotherhood.

      This remarkable new production shows that in August of 2016, the FBI

analysts discussed the preference of some agents for a Clinton Presidency—a known

quantity—“instead of a wild card like [T]rump.”




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       In messages exchanged on the FBI’s “Lync” messaging system in October of

2016, FBI employees exchanged messages about the “Crossfire Road Show,” stating

that they were “interested to see how this all plays out.” They knew exactly how bad

it was: “I’m tellying man, if this thing ever gets FOIA’d, there are going to be some

tough questions asked.”




       Notably, the “investigation” of General Flynn was first closed by November 8,

2016. The FBI agents write: “he said shut down Razor” and “so glad they’re closing

Razor.” However [redacted] “was silent though, so who knows what he will want.”

Was that Andy [McCabe]?1




   1  General Flynn has a Sixth Amendment right to a public exoneration regarding
the proceedings against him, and the American people have a right to know the truth
about the nefarious conduct and the people who committed it. The defense objects to
any redactions and demands that the Government file these documents unredacted
on the public record.

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      FBI employees noted “that the decision to nsl [national security letter] finances

for razor bought him time.” This shows their recognition that the issuance or request

for national security letters for General Flynn’s financial information was a ruse to

get more time to keep the “investigation” against him open. These Stalinist tactics

mandate immediate dismissal of this case.

      Analysts recognized by December 5, 2016, it was not even a “logical

investigative step” to seek General Flynn’s financial records at that time and that

“this is a nightmare.”




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      On that same day, analysts discussed NSLs as a pretext to buy time that also

increased the risk of leaks. They also noted it was a topic that “makes no sense” since

the argument was made back in August.                “If we’re concerned about

sensitivity/leaks, might not want to send NSLs that we don’t really intend

on using.” “Exactly that makes no sense. We’d have to read in more people/field

offices.” “Again—the argument you guys made to me in [A]ug[ust].”




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      FBI employees discussed the January 5, 2017, briefing of Obama: “What’s the

word on how O’s briefing went”? asked one employee, to which the other replied,

“Don’t know but people here are scrambling for info to support certain things and it’s




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a mad house.” “Trump was right. Still not put together…why do we do this to

ourselves. What is wrong with these people.”




      Five days later, on January 10, 2017, FBI analysts knew it was so bad that

they “all went and purchased professional liability insurance.” The same

employees worried that “the whole thing is pretty ugly…we shall see how things

pan out” and “[t]he concern when we got it was that there was a big leak at DOJ and

the NYT among others was going to do a piece.” Further, “the new AG might have

some questions…then yada yada yada…we all get screwed.” Exhibit A (emphasis

added).




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      On January 13, 2017, FBI employees messaged that “someone leaked the

Flynn calls with Kislyak to the WSJ.” In a response reeking with sarcasm, an FBI

employee messaged “I’m so sorry to hear that. I’ll resume my duties as Chief Morale

Officer and rectify that.”




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      Newly produced notes of Andrew McCabe show that at 5:15 p.m. on May 10,

2017, McCabe briefed the Senate Select Committee on Intelligence. They were trying

very hard to pin something on General Flynn. Exhibit B.

      “Flynn –

         •   Open: nothing

         •   Closed: everything

         •   Blackmail: theoretically possible, not the strongest theory.




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        Newly produced notes of Peter Strzok show: Strzok met with Bruce Schwartz,

Lisa, and George at DOJ on March 28, 2017, where he noted Flynn Intel Group

“satisfied   the   registration   obligation”   and    “no    evidence    of   any

willfulness.” Nonetheless, “Bruce” decided to issue subpoenas to Flynn Intel Group

“and more.” Exhibits C, D.

      The new Strzok-Page text messages show that Strzok played games with the

FBI Sentinel serialization system and entry of 302s, Strzok and Page were pulling

talking points from a Lawfare article, and “F’in Pamela Brown knows there were two

phone call memos.” Further, these text message reinforce how zealously Strzok and

Page were working to oppose Trump’s election and subvert the peaceful transfer of

power. Exhibit E. The following are a sample of some of the conversations reflected

in Exhibit E.




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      The Government provided copies of the production with all necessary

redactions for public dissemination. These documents evidence stunning government

misconduct that mandates the immediate dismissal of this wrongful prosecution. The

Government’s redacted production of last evening, September 23, 2020, is attached

hereto as Exhibits A-E.

                                  CONCLUSION

      There was no case against General Flynn. There was no crime. The FBI and

the prosecutors knew that. This American hero and his entire family have suffered

for four years from public abuse, slander, libel, and all means of defamation at the

hands of the very government he pledged his life to defend.

      For these reasons and all those previously briefed, the Government’s Motion

to Dismiss should now be granted with prejudice instanter for multiple violations of


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Brady and the wrongful prosecution of General Flynn when the agents and

prosecutors knew there was no crime. This hideous abuse of power and travesty of

justice has only been exacerbated by the unprecedented and baseless rulings of this

court, and it should not continue another day.



Dated: September 24, 2020              Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 24, 2020, I electronically filed the foregoing

Supplement with the Clerk of Court using the CM/ECF system. I further certify that

the participants in the case are registered CM/ECF users and that service will be

accomplished by the court’s CM/ECF system.


                                              Respectfully submitted,

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